Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   _______________________________
   LIL’ JOE RECORDS, INC.,       )
                                       )
               Plaintiff,              )
                                       )
         v.                            )    CASE NO. 1:21-CV-23727-DPG
                                       )
   MARK ROSS; et al.,             )
                                       )
               Defendants.             )
   _______________________________)

    DEFENDANTS MARK ROSS, CHRISTOPHER WONG WON, JR., RODERICK WONG
       WON, LETERIUS RAY, ANISSA WONG WON, AND LUTHER CAMPBELL’s
     STATEMENT OF MATERIAL FACTS IN SUPPORT OF DEFENDANTS’ MOTION
                        FOR SUMMARY JUDGMENT
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 2 of 10




                            DEFENDANT’S STATEMENT OF FACTS

           Defendants, Mark Ross, Christopher Wong Won, Jr., Roderick Wong Won, Leterius Ray,

   Anissa Wong Won, and Luther Campbell (“Defendants”), pursuant to S.D. Fla. L.R. 56.1 hereby

   provides this statement of material facts supporting its Motion for Summary Judgment as to

   Count 1 for Declaratory Judgment as to the Validity of the Copyright Termination Notice of

   Defendants’ Counter Claim and Counts II-X of Plaintiff’s Complaint as follows:

           1.    Defendants Mark Ross (“Ross”), Luther Campbell (“Campbell”), and the

   deceased Christopher Wong Won (“Won”) (collectively “2 Live Crew”) are three of the four

   original members of the band 2 Live Crew. (Declaration of Luther Campbell (“Campbell Decl.”)

   ¶ 1; Declaration of Mark Ross (“Ross Decl.”) ¶ 1; Declaration of Leterius Ray (“Ray Decl.”) ¶

   2.)

           2.    Defendants Anissa Wong Won, Christopher Wong Won, Jr., Roderick Wong

   Won, and Leterius Rey are the heirs of Christopher Wong Won (collectively “Won Heirs”) and

   terminated Won’s grant of rights on behalf of the Estate of Christopher Wong Won. (Ray Decl. ¶

   3-4.)

           3.    From 1986 to 1989, 2 Live Crew wrote and recorded five albums, The 2 Live

   Crew Is What We Are, Move Somethin’, Move Somethin’ (Clean), As Nasty As They Wanna Be,

   and As Clean As They Wanna Be (“Subject Albums”). (Campbell Decl. ¶ 2; Ross Decl. ¶ 2.)

           4.    The members of 2 Live Crew, at the time they recorded each of the Subject

   Albums, had an oral agreement when they went into the studio about how the rights, including

   copyrights, for those albums would be treated. (Campbell Decl. ¶ 6; Ross Decl. ¶ 3.)

           5.    The parties performed under that oral agreement between 1986 and 1990.

   (Campbell Decl. ¶ 6-10; Ross Decl. ¶ 3-7.)



                                                 -2-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 3 of 10




          6.      2 Live Crew recorded the Subject Albums, Campbell’s label Luke Skyywalker

   Records, Inc. (“Skyywalker Records”) released them, and the label paid the group from the

   release of the Subject Albums. (Campbell Decl. ¶ 6-10, 43; Ross Decl. ¶ 3-7, 34; Ray Decl. ¶ 5.)

          7.      Luke Skyywalker Records was renamed Skyywalker Records (the entity that

   executed the 1990 Agreement), which was then renamed Luke Records. (Campbell Decl. ¶ 3.)

          8.      The Subject Albums bore the logo and company information for Skyywalker

   Records under the name the entity bore at the time of release. (Campbell Decl. ¶ 8.)

          9.      When copyright and obscenity lawsuits relating to the Subject Albums were

   waged in court, Skyywalker Records was a party to those actions, which is only possible if it had

   an ownership interest. (Campbell Decl. ¶ 10; Ross Decl. ¶ 7.)

          10.     At no time between 1986 and 1990 did any of the members of 2 Live Crew, or

   anyone else for that matter, claim that any entity or individual other than Skyywalker Records

   held the Subject Album’s copyright. (Campbell Decl. ¶ 6-10; Ross Decl. ¶ 3-7.)

          11.     In or around 1990, 2 Live Crew executed a written agreement with Skyywalker

   Records memorializing the parties’ oral agreement (“1990 Agreement”). (Campbell Decl. ¶ 11,

   15, Ex. 1; Ross Decl. ¶ 8; Ray Decl. ¶ 7.)

          12.     The name of the contracting entity listed on the 1990 Agreement is Skyywalker

   Records. (Campbell Decl. ¶ 14-15, Ex. 1.)

          13.     The 1990 Agreement states an effective date of January 1, 1987 but was entered

   into in 1990 when the members of 2 Live Crew decided to memorialize their oral agreement in

   writing. (Campbell Decl. ¶ 11, 15, Ex. 1; Ross Decl. ¶ 8.)

          14.     Lil’ Joe Records, Inc., (“Lil’ Joe”) has had the 1990 Agreement in its files since

   the early 2000s and, before this litigation, never took any steps to challenge its validity or



                                                   -3-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 4 of 10




   veracity. Declaration of Scott Alan Burroughs (“Burroughs Decl.”) ¶ 67, 69, Ex. 70.)

          15.     There are certain publishing agreements with another entity, Pac Jam Publishing,

   Inc., that relate to the compositions for the Subject Albums. (Campbell Decl. ¶ 26, 27, Ex. 4.)

          16.     Skyywalker Records held the copyrights for the Subject Albums per the 1990

   Agreement at all relevant times until it, along with Campbell, declared bankruptcy in 1995.

   (Campbell Decl. ¶ 12; Ross Decl. ¶ 9.)

          17.     Ultimately, through the bankruptcy process, Plaintiff, Lil’ Joe, obtained the

   copyrights in the Subject Albums. (Campbell Decl. ¶ 30; Ross Decl. ¶ 22.)

          18.     On November 4, 2020, 2 Live Crew served a notice terminating (“Notice”) its

   original copyright grants to Skyywalker Records under 17 U.S.C. § 203, which allows an artist to

   terminate a transfer and reclaim their copyrights after 35 years. (Campbell Decl. ¶ 20-22, Ex. 3;

   Ross Decl. ¶ 16.)

          19.     Paragraph 2(d) of the 1990 Agreement reads in part: “All master recordings

   recorded during the term here of and all derivatives manufactured therefrom, together with the

   performances embodied thereof shall from the inception of their creation, be entirely and forever

   the property of the Company, or its designee free from any claims whatsoever by Artist or any

   person, firm or corporation deriving any rights or interests from Artist; and company shall have

   the right to assign and otherwise transfer such copyrights to any third party, free and clear of any

   claim by Artist or any person, firm or corporation, deriving any rights from Artist.” (Campbell

   Decl. ¶ 15, 17, Ex. 1; Ross Decl. ¶ 13.)

          20.     The parties’ intent to transfer is evidenced by the fact that they performed under

   the 1990 Agreement, recording all of the Subject Albums for release by Skyywalker Records,

   and receiving payments under the terms of the agreement. (Campbell Decl. ¶ 8-14, Ex. 1; Ross



                                                   -4-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 5 of 10




   Decl. ¶ 11.)

          21.     2 Live Crew sent the written Notice to all possible rights holders, including Lil’

   Joe, via first-class mail (return receipt requested) and when possible electronic mail. (Campbell

   Decl. ¶ 21-22, Ex. 3; Ross Decl. ¶ 17.)

          22.     A majority three of the four original 2 Live Crew membership interests joined in

   the termination. (Campbell Decl. ¶ 21-22, Ex. 3; Ross Decl. ¶ 16.)

          23.     The Notice was sent on November 4, 2020 over two years before the earliest date

   of effective termination (November 7, 2022) and less than 10 years from the last date of effective

   termination (May 1, 2024). (Campbell Decl. ¶ 21-22, Ex. 3; Ross Decl. ¶ 16.)

          24.     The grant at issue (1990 Agreement) covered the right of publication, and

   therefore, the notice of termination provides a date of effective termination for each of the

   Subject Albums which is over 35 years from the date of publication and within the 5-year

   window beginning on December 1, 2021. (Campbell Decl. ¶ 14-16, Ex. 1; Ross Decl. ¶ 10-12.)

          25.     The 1990 Agreement specifically states, “Artist hereby grants to Company the

   sole and exclusive right during the initial term of this Agreement and all renewals and extensions

   of the same to use, publish and permit other to use and publish…” (Campbell Decl. ¶ 15-16,

   Ex.1; Ross Decl. ¶ 12.)

          26.     A copy of the Notice was recorded in the Copyright Office before the effective

   date of termination. (Burroughs Decl. ¶ 68, Ex. 69.)

          27.     The date of publication of the Subject Albums is also included in 2 Live Crew’s

   Notice. (Campbell Decl. ¶ 20-25, Ex.3; Ross Decl. ¶ 18-20.)

          28.     2 Live Crew did not create the Subject Albums as works for hire for Skyywalker

   Records. (Campbell Decl. ¶ 32, 34, Ex.1; Ross Decl. ¶ 23, 25.)



                                                   -5-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 6 of 10




          29.     The members of 2 Live Crew and Campbell, the owner of Skyywalker Records,

   agree that the members were not employees. (Campbell Decl. ¶ 32, 34, Ex.1; Ross Decl. ¶ 23,

   25.)

          30.     There is no employment agreement with any 2 Live Crew member let alone one

   that states the existence of a salary, what that salary would be for, and that the creation of

   musical works is within the scope of that employment. (Campbell Decl. ¶ 15, 18, Ex.1; Ross

   Decl. ¶ 14; Ray Decl. ¶ 5-7.)

          31.     The paychecks produced by Lil’ Joe do not identify what they were for, do not

   indicate that they were made in connection with the creation of the Subject Albums. (Burroughs

   Decl. ¶ 66.)

          32.     2 Live Crew received per diem checks at times and while some of them were

   marked “payroll,” those payments were not compensation for the creation of the Subject

   Albums. (Campbell Decl. ¶ 43, 47; Ross Decl. ¶ 34, 38.)

          33.     At the time of the Subject Albums’ creation, Campbell was the owner of

   Skyywalker Records; however, his role as a member of 2 Live Crew was wholly independent of

   his Skyywalker Records role, as evidenced by the fact he is a signatory of the 1990 Agreement

   on behalf of both 2 Live Crew and Skyywalker Records. (Campbell Decl. ¶ 3, 47.)

          34.     The operative 1990 Agreement does not contain a work-for-hire clause.

   (Campbell Decl. ¶ 15, 18, Ex.1; Ross Decl. ¶ 14; Ray Decl. ¶ 6.)

          35.     The composition (PA) registrations filed for the first of the Subject Albums list

   the four original members of 2 Live Crew as authors and specifically state that each author’s

   contribution was not a “work made for hire.” (Campbell Decl. ¶ 36; Ross Decl. ¶ 27; Burroughs

   Decl. ¶ 2-60, Ex. 5-63.)



                                                    -6-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 7 of 10




          36.     The majority of the composition (PA) registrations were filed and registered by

   Lil’ Joe Wein Music, Inc., an affiliate of Plaintiff. (Burroughs Decl. ¶ 2-60, Ex. 5-63.)

          37.     The registrations for You Got Larceny and City of Boom have an effective date of

   August 10, 1989 and filed on the same date as the As Nasty as They Wanna Be album and both

   were filed by Pac Jam Publishing stated the respective songs were not a work made for hire.

   (Burroughs Decl. ¶ 54, 58, 64, Ex. 57, 61, 67.)

          38.     The registration for the song Coolin’ was registered by both Pac Jam Publishing

   in 1989 and by Lil’ Joe Wein Music, Inc. in 1998. (Burroughs Decl. ¶ 53, Ex. 56.)

          39.     Lil’ Joe Wein Music, Inc. is related to and has the same principle, Joseph

   Weinberger as Lil’ Joe, who is listed as the entity listed in section 8 for “Correspondence” on the

   registrations filed by Lil’ Joe Wein Music, Inc. (Burroughs Decl. ¶ 10, 18, Ex. 13, 21.)

          40.     The sound recording (SR) registrations for the Subject Albums were registered by

   Lil’ Joe on February 26, 2001 and falsely state that either Luke Records, Inc. or Lil’ Joe are the

   authors of the sound recordings when these entities did not exist at the time of creation of the

   recordings, and 2 Live Crew are the actual authors. (Burroughs Decl. ¶ 61- 65, Ex. 64-68.)

          41.     The sound recording (SR) registrations falsely state on four of the five

   registrations the works were works-for-hire, despite the composition registrations stating the

   opposite. (Burroughs Decl. ¶ 61- 65, Ex. 64-68.)

          42.     The majority of the Move Somethin’ (Clean) PA registrations state the works were

   not works-for-hire, which were filed in May 2001, three months after the SR registrations were

   filed by Lil’ Joe. (Burroughs Decl. ¶ 10-22 Ex. 13-25.)

          43.     Two of the four SR registrations check both the work-for-hire and not work-for-

   hire boxes. (Burroughs Decl. ¶ 61, 63, Ex. 64, 68.)



                                                     -7-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 8 of 10




          44.     Joe Weinberger on behalf of Lil’ Joe admitted during its deposition to changing

   the sound recording registration for Move Somethin’ which initially stated the work was not

   made for hire to stating it was a work-for-hire, in 2021. (Burroughs Decl. ¶ 69, Ex. 70.)

          45.     The agreements alleged to be operative by Lil’ Joe from 1991 are dated in 1991

   and executed after the creation of the Subject Albums. (Campbell Decl. ¶ 35; Ross Decl. ¶ 26.)

          46.     2 Live Crew exercised a high level of skill in writing and producing music and

   over the course of their career created multiple gold and one platinum album. (Campbell Decl. ¶

   39; Ross Decl. ¶ 30.)

          47.     None of the contracting entities would not have been able to create and replicate

   the Subject Albums due to the high level of creativity and skill. (Campbell Decl. ¶ 39; Ross

   Decl. ¶ 30.)

          48.     The Subject Albums were written and recorded in third-party studios. (Campbell

   Decl. ¶ 40, 44; Ross Decl. ¶ 31, 35.)

          49.     2 Live Crew worked with Skyywalker Records for a relatively short period of

   time. (Campbell Decl. ¶ 4, 45; Ross Decl. ¶ 36.)

          50.     2 Live Crew were not hired as employees and paid on a salary or hourly basis but

   were paid a royalty on the delivered albums. (Campbell Decl. ¶ 9, 14, 47; Ross Decl. ¶ 6, 11, 38;

   Ray Decl. ¶ 5.)

          51.     Skyywalker Records did not have the ability to arbitrarily assign additional

   projects outside 2 Live Crew’s obligation to create and deliver the required works. (Campbell

   Decl. ¶ 37-38, 42; Ross Decl. ¶ 28-29, 33.)

          52.     Skyywalker Records or any of its iterations are not still in business and have not

   been in business since the mid-1990s. (Campbell Decl. ¶ 4. 45; Ross Decl. ¶ 36.)



                                                  -8-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 9 of 10




          53.     2 Live Crew had the freedom to create their own schedule and did not have

   assigned times each day to work and simply had the deadline to deliver an album, but otherwise

   had absolute freedom to decide when to work. (Campbell Decl. ¶ 40, 44, 46; Ross Decl. ¶ 31, 35,

   37.)

          54.     Skyywalker Records did not provide 2 Live Crew with health insurance, paid

   vacation time, worker’s compensation benefits, a pension plan, or other types of benefits that

   courts have traditionally found probative of employee status. (Campbell Decl. ¶ 41; Ross Decl. ¶

   32.)

          55.     Plaintiff fails to show the Defendants “adopted an identical or similar mark” to

   one allegedly owned by Plaintiff, such as the 2 Live Crew mark. (Ross Decl. ¶ 39; Ray Decl. ¶ 8;

   Burroughs Decl. ¶ 70-71.)

          56.     Plaintiff identifies only use by third parties of the 2 Live Crew mark to describe

   certain Defendants. (Ross Decl. ¶ 39; Ray Decl. ¶ 8; Burroughs Decl. ¶ 70-71.)

          57.     Any use of a mark arguably similar to those of 2 Live Crew were used in a

   descriptive sense to state that Ross, for example, was a former member of 2 Live Crew. (Ross

   Decl. ¶ 39; Ray Decl. ¶ 8; Burroughs Decl. ¶ 70-71.)



   Dated: December 1, 2022                            Respectfully submitted,


                                                      By: /s/ Scott Alan Burroughs
                                                      Scott Alan Burroughs
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                                                      December 1, 2022


                                                  -9-
Case 1:21-cv-23727-DPG Document 53-1 Entered on FLSD Docket 12/01/2022 Page 10 of 10




                                      CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on December 1, 2022, a true and authentic copy of the
    foregoing was submitted to the Clerk of Court using the CM/ECF system, which will send a
    notice of electronic filing to all counsel of record.

                                                    By:     /s/ Scott Alan Burroughs
                                                            Scott Alan Burroughs
